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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                     JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA

 vs.                                                                 Case No.: 3:04-cr-206-J-20MCR

 JAMAL SHAKIR
 ___________________________________


                              REPORT AND RECOMMENDATION1

         THIS CAUSE is before the Court on Defendant’s Motion to Suppress Oral

 Statements (Doc. 303) filed February 2, 2005. The government filed a response in

 opposition to the Motion on May 19, 2005. (Doc. 494). An evidentiary hearing was held

 before the undersigned on July 12, 2005.

                               I. Evidence Presented at the Hearing

         During the hearing, the government presented the testimony of four police

 officers, Deputy Jason Anderson, Deputy Diane Espie, Detective Bruce Baker, and

 Detective Clement Nieto. Deputies Anderson and Espie testified they responded to the

 scene of a shooting at 9645 Baymeadows Road in Jacksonville, Florida on December

 14, 2003. (Tr. 14). Deputy Anderson testified that he was the first police officer on the

 scene, but by the time he arrived rescue personnel were already present and attending

 to the shooting victim. (Tr. 15). Deputy Anderson testified that while the victim

 appeared to be in pain, the victim was conscious, responsive, and coherently


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           Specific, written objections may be filed in accordance with 28 U.S.C. § 636 and Rule 6.02, Local
 Rules, United States District Court, Middle District of Florida, within ten (10) days after service of this
 document. Failure to file timely objections shall bar the party from a de novo determination by a district judge
 and from attacking factual findings on appeal.
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 responded to questions asked by Deputy Anderson. (Tr. 15, 24). In addition, the victim

 never expressed a desire not to speak with Deputy Anderson and no police officers

 escorted the victim to the hospital. (Tr. 17). Deputy Anderson further testified that he

 never asked the victim his name but rather focused his questions on who shot the victim

 and what the suspects looked like. (Tr. 16, 19, 25). On cross examination, Deputy

 Anderson testified that his whole conversation with the victim was only 15 to 30 seconds

 long and it took place as the victim was being wheeled out to the ambulance. (Tr. 22).

        Deputy Diane Espie testified that when she arrived at the scene, Deputy

 Anderson was already present and the victim was being wheeled out to the ambulance.

 (Tr. 27). Deputy Espie never spoke with the victim, but she collected personal

 information from the victim’s girlfriend, Mashonda Tennyson, who was present at the

 scene. (Tr. 27, 28). Deputy Espie testified that she ascertained the victim’s name to be

 Jamal Shakir. (Tr. 31).

        The United States then presented testimony from Detective Bruce Baker of the

 Homicide Unit of the Jacksonville Sheriff’s Office (JSO). Detective Baker testified that

 he was called to scene of the crime because the patrol officers believed the victim’s

 injuries to be life threatening. (Tr. 34-35). By the time Detective Baker arrived, the

 victim had already left for the hospital. (Tr. 33). He never spoke with the victim at the

 scene, but was advised by the patrol officers that the victim’s name was Jamal Shakir.

 (Tr. 33-34). Upon cross examination, Detective Baker testified that he called the

 hospital to inquire about the status of the victim and learned that the victim’s injuries



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 were no longer considered to be life threatening. (Tr. 36-37). At this point, Detective

 Baker referred the investigation to JSO’s Robbery Unit for further inquiry. (Tr. 38).

        Detective Clement Nieto of JSO’s Robbery Unit then testified that he was

 assigned to the investigation on December 16, 2003. (Tr. 41). Detective Nieto testified

 that the information he received from the original report indicated that two or three

 suspects entered the victim’s home, ransacked it and shot one of the occupants, but the

 report did not mention if anything was stolen. (Tr. 42). As a result, Detective Nieto

 called the contact numbers listed on the report to inquire if anything was, in fact, stolen.

 Id. Detective Nieto first spoke with Ms. Tennyson and then placed a second call to

 Defendant; both calls took place on December 16, 2003. (Tr. 42, 43).

        Detective Nieto testified that when he called Defendant on the phone he

 identified himself as a detective from the robbery unit of JSO. (Tr. 44). Detective Nieto

 testified he was aware that Defendant was in the hospital, but Defendant never

 complained of pain or being unable to answer questions due to medication. (Tr. 44-45,

 60). To the contrary, Detective Nieto testified Defendant was clear and concise on the

 phone and gave a coherent statement. (Tr. 45). Detective Nieto testified that he never

 read Defendant his Miranda rights because he believed Defendant to be the victim of a

 crime, not a suspect. (Tr. 47-48, 60). The whole conversation lasted no longer than ten

 minutes and ended with an agreement that Defendant would come down to the police

 station for further conversations when Defendant was feeling better. (Tr. 47, 60).

 Defendant never went to the police station and Detective Nieto has not spoken to

 Defendant since. (Tr. 49).

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        On cross examination, Detective Nieto testified that he never spoke with any

 doctors or nurses on December 16, 2003 who were treating Defendant in the hospital.

 (Tr. 53). Detective Nieto further testified that he was not advised of Defendant’s

 condition by either Defendant’s girlfriend, Ms. Tennyson, or by Defendant himself. (Tr.

 55, 57). Detective Nieto reiterated that Defendant did not sound like he was under the

 influence of any intoxicants as he was clear and concise. (Tr. 55).

        Defendant then testified on his own behalf regarding his conversation with

 Detective Nieto. Defendant testified he spoke with Detective Nieto over the telephone

 while in the hospital. (Tr. 69). According to his own testimony, Defendant was aware

 Detective Nieto was a police officer and he understood the questions that Detective

 Nieto asked. (Tr. 69, 70). Defendant also testified that at the time of the conversation

 with Detective Nieto he had tubes in his nose and he was under the influence of pain

 medication. (Tr. 70).

        On cross examination, Defendant testified he never considered himself under

 arrest while in the hospital nor did he believe he was in police custody or a suspect of a

 crime. (Tr. 76). Defendant further testified that no police officers visited him in the

 hospital, and there were no police officers monitoring his room. (Tr. 75). Defendant

 also admitted he never advised Detective Nieto that he was recovering from surgery,

 had tubes in his nose, or was under the influence of pain medication. (Tr. 77-78). Yet,

 Defendant repeated that he understood Detective Nieto’s questions and he was able to

 answer them. (Tr. 79).



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                                       II. Argument

        Defendant seeks to suppress the statements he made to Detective Nieto while in

 the hospital on the grounds that: (1) Detective Nieto failed to administer the warnings of

 Defendant’s constitutional rights as required by Miranda v. Arizona, 384 U.S. 436

 (1966); and (2) Defendant’s statements were not voluntary because he was recovering

 from surgery for gunshot wounds. (Doc. 303). The Court will address each of these

 arguments separately.

        A. Miranda Warnings

        Defendant argues that the oral statements he made to Detective Nieto should be

 suppressed because they were taken in violation of his constitutional rights since

 Detective Nieto failed to administer Miranda warnings when they spoke over the

 telephone on December 16, 2003. (Doc 303).

        The Supreme Court in Miranda v. Arizona held that a defendant must be advised

 of his constitutional rights by police when held during a “custodial interrogation.” 384

 U.S. at 444. The Court defined custodial interrogation as “questioning initiated by law

 enforcement officers after a person has been taken into custody or otherwise deprived

 of his freedom of action in any significant way.” Id. One of the defining characteristics

 of custodial interrogation is a “police-dominated atmosphere” which may bring forth

 “inherently compelling pressures which work to undermine the individual’s will to resist

 and to compel him to speak where he would not otherwise do so freely.” Id. at 467.

        In order to generate such a “police-dominated atmosphere” when an individual

 questioned by police is being treated at a hospital, the Ninth Circuit held that law

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 enforcement officials need to be closely involved in the individual’s hospitalization. U.S.

 v. Martin, 781 F.2d 671, 673 (9th Cir. 1986). Specifically, the Ninth Circuit stated that an

 individual may be in police custody when being treated at a hospital if “police took a

 criminal suspect to the hospital from the scene of crime, monitored the patient’s stay,

 stationed themselves outside the door, arranged an extended treatment schedule with

 the doctors, or some combination of these.” Id.

        In this case, there is no question that Defendant was neither taken into police

 custody nor significantly deprived of his freedom of action. The evidence presented at

 the hearing demonstrated that law enforcement officials were in no way involved in

 Defendant’s hospitalization and, thus, Defendant could not be considered “in custody”

 for Miranda purposes. The testimony provided by Deputy Anderson, the first law

 enforcement officer on the scene, established that no police officers escorted Defendant

 to the hospital. Detective Baker further testified that no police officers ever visited

 Defendant while he was in the hospital and the only call made to the hospital was to

 determine the status of Defendant’s injuries not to monitor Defendant’s stay at the

 hospital or to arrange for an extended treatment schedule. Additionally, Detective Nieto

 testified he called Defendant at the hospital to gather details about the robbery and

 shooting of which Defendant was the victim. Detective Nieto stated that he never

 believed Defendant to be the suspect of the crime. Finally, Defendant testified on cross

 examination that he never considered himself to be under arrest, in police custody, or

 the suspect of a crime while in the hospital.



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        Here, the evidence shows that Defendant was not in police custody at the time

 he made the statement to Detective Nieto, and consequently, there was no need for

 Miranda warnings prior to questioning. The police did not escort Defendant to the

 hospital, monitor his stay, station themselves outside his door, or arrange for an

 extended treatment schedule. There is no evidence to suggest that the law

 enforcement officials did anything to take Defendant into custody or deprive him of his

 freedom of action. In fact, Defendant’s arrest did not occur until approximately seven

 months after his release from the hospital, and seemed to have no relationship to the

 hospitalization. Accordingly, the Court finds that based on the totality of the

 circumstances, Detective Nieto did not violate Defendant’s constitutional rights by failing

 to read him Miranda warnings prior to questioning.

        B. Voluntairness of Statements

        Defendant next argues his statements made to Detective Nieto while he was in

 the hospital should be suppressed because they were involuntary. Specifically,

 Defendant argues the statements were not voluntary because there were made

 following surgery for gunshot wounds. (Doc. 303).

        The Supreme Court has reasoned that in order to be voluntary, statements made

 to law enforcement officials must be the product of “free and rational choice.” Mincey v.

 Arizona, 437 U.S. 385, 401 (1978) (citing Greenwald v. Wisconsin, 390 U.S. 519, 521

 (1968)). Thus, determination of whether a statement is involuntary requires a careful

 evaluation of all the circumstances of the interrogation. Id. While reviewing the totality

 of circumstances of the interrogation, courts have closely considered the following

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 factors: (1) police coercion, (2) length of the interrogation, (3) location and continuity of

 the interrogation, (4) the defendant’s maturity, education, physical condition, and mental

 health, and (5) whether the defendant was advised of his constitutional rights. Abela v.

 Martin, 380 F.3d 915, 928 (6th Cir. 2004) (citing Withrow v. Williams, 507 U.S. 680, 693-

 94 (1993)).

        In this case, the evidence presented at the hearing demonstrated that Defendant

 was awake and coherent when he spoke to Detective Nieto over the telephone. The

 undisputed evidence established that Detective Nieto did not speak with Defendant until

 December 16, 2003, two days after Defendant was shot and admitted to the hospital.

 Detective Nieto testified he identified himself as a police detective when he spoke with

 Defendant and Defendant testified that he was aware that Detective Nieto was a law

 enforcement officer. While Defendant testified that he had tubes in his nose and was

 under the influence of pain medication when he spoke with Detective Nieto, he also

 testified that he never advised Detective Nieto of his physical condition nor did he tell

 Detective Nieto that he was recovering from surgery. Additionally, on direct

 examination, Defendant testified that he understood the questions asked by Detective

 Nieto and was able to answer them. Detective Nieto also testified Defendant never

 indicated that he did not want or was unable to speak with him. Rather, Detective Nieto

 testified that Defendant sounded clear and concise over the telephone and the whole

 conversation lasted only ten minutes.

        There is no evidence in this case of police coercion or extended and oppressive

 questioning. Defendant’s own testimony established that he was coherent and

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 understood the questions asked by Detective Nieto. Moreover, there is a lack of

 evidence in the record to establish that Defendant was under the influence of pain

 medications which rendered him unable to make a coherent statement. Thus, the Court

 finds that although the Defendant was recuperating from surgery for gunshot wounds at

 the time the statements were made, there is sufficient evidence to establish Defendant’s

 statements were voluntary.

       Accordingly, after due consideration, it is

       RECOMMENDED:

       Defendant’s Amended Motion to Oral Statements (Doc. 303) be DENIED.

       ENTERED at Jacksonville, Florida this 27th day of July, 2005.




                                                          MONTE C. RICHARDSON
                                                   UNITED STATES MAGISTRATE JUDGE

 Copies to:

 Counsel of Record
 Any Unrepresented Party




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